
PER CURIAM.
Affirmed. See In re Estate of Schatz, 613 So.2d 591 (Fla. 4th DCA 1993); In re Estate of Barnett, 549 So.2d 1166 (Fla. 4th DCA 1989); In re Estate of Parson, 570 So.2d 1125 (Fla. 1st DCA 1990); Pratt v. Gerber, 330 So.2d 552, 553 n. 1 (Fla. 3d DCA 1976). See also Fla.R.App.P. 9.110(b); Fla.Prob.R. 5.100.
STONE and SHAHOOD, JJ., and RAMIREZ, JUAN, Jr., Associate Judge, concur.
